II. Legal Authority

    A. Prospective Location Information

       3. The Government seeks to obtain both precision location information and cell site data

for the Target Cellphone on a prospective basis (the “Prospective Location Information”) for a

period of 45 days from the date of this order – the same period of time for which a warrant for a

tracking device may be granted under Rule 41(e)(2)(C). It bears noting, however, that while the

Prospective Location Information may permit “tracking” the user of the phone in the colloquial

sense, this is not an application for a warrant for a “tracking device” as defined in Fed. R. Crim.

P. 41(a)(2)(E) and 18 U.S.C. § 3117(b). Those provisions only apply where an agent is seeking to

physically install a tracking device on a given object.       Instead, the Prospective Location

Information will be obtained by requiring the Service Provider to provide the information.

       4. The authority for this application is found in 18 U.S.C. § 2703(c)(1), which authorizes

a court of competent jurisdiction to require any electronic communication service provider (which

includes a cellular telephone service provider 1 ) to disclose any “record or other information

pertaining to a subscriber” other than the “contents of communications,” when the government

obtains, inter alia, a warrant under the applicable procedures of Rule 41. See 18 U.S.C. §

2703(c)(1)(A). Because data concerning a subscriber’s location, such as precision location

information and cell site data, constitutes “information pertaining to a subscriber” that does not

include the “contents of communications,” that data is among the types of information available




1
 See 18 U.S.C. § 2711(1) (incorporating by cross-reference statutory definitions set forth in 18
U.S.C. § 2510); 18 U.S.C. § 2510(15) (defining “electronic communication service” as “any
service which provides to users thereof the ability to send or receive wire or electronic
communications”).

                                                2




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                                                                        SUBJECT TO PROTECTIVE ORDER
under § 2703(c)(1)(A). 2 Further, as specified in 18 U.S.C. § 2711(3), this Court is a court of

competent jurisdiction under the Stored Communications Act because it has jurisdiction over the

Subject Offenses.

       5. The Government’s request for cell site data also implicates the pen register statute,

because such data constitutes signaling information used by the Service Provider to route

communications to and from the Target Cellphone. In order to collect such data, a valid pen

register order is required. 3 Accordingly, I hereby certify pursuant to 18 U.S.C. § 3122 that such

signaling information is relevant to an ongoing investigation being conducted by the Investigating

Agency into suspected violations of the Subject Offenses by the Target Subject(s).

    B. Historical Location Information

       6. The Government also seeks historical cell site data for the Target Cellphone for the

period from November 4, 2024 to the present (the “Historical Location Information”). Because

such data—like “Prospective Location Information”—constitutes information concerning a

subscriber, the Court is authorized to order the Service Provider to provide this data pursuant to a



2
  See In re Application, 460 F. Supp. 2d 448, 459–60 & n. 55 (S.D.N.Y. 2006) (Kaplan, J.)
(cellphone location information falls within § 2703(c)(1)); accord, e.g., United States v. Caraballo,
963 F. Supp. 2d 341, 361 (D. Vt. 2013); In re Order, 632 F. Supp. 2d 202, 207 (E.D.N.Y. 2008);
In re Application, 405 F. Supp. 2d 435, 444-45 (S.D.N.Y. 2005). But see In re Application, 849
F. Supp. 2d 526, 574 (D. Md. 2011) (rejecting view that cellular location data falls within the scope
of the SCA and finding that phone must be treated as “tracking device” for purposes of Rule 41
where used to collect location data); In re Application, 2009 WL 159187, at *5-*6 (S.D.N.Y.
Jan.13, 2009) (McMahon, J.) (same).
3
  See 18 U.S.C. § 3121 (prohibiting use of pen register or trap and trace device without an order
under the pen register statute); 3127(3) & (4) (defining pen register and trap and trace device to
include devices or processes that record, inter alia, signaling information). Although cell site data
constitutes “signaling” information within the meaning of the pen register statute, a separate statute
precludes the Government from relying “solely” on the authority provided by the pen register
statute to ascertain a subscriber’s location. 47 U.S.C. § 1002(a). Here, the Government seeks to
obtain such data pursuant to 18 U.S.C. § 2703(c) as well as the pen register statute, rather than
“solely” under the latter statute. See In re Application, 460 F. Supp. 2d at 456-59.

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warrant application under 18 U.S.C. § 2703(c), under the applicable procedures of Rule 41. See

18 U.S.C. § 2703(c)(1)(A). I respectfully submit that the same probable cause supporting the

Government’s request for a warrant to obtain the Prospective Location Information requested

above also supports the issuance of a warrant under § 2703(c) for the requested Historical Location

Information. In addition, the Government seeks toll records for the same period as the Historical

Location Information. Pursuant to 18 U.S.C. § 2703(d), I respectfully submit that the Agent

Affidavit offers specific and articulable facts showing that there are reasonable grounds to believe

that the toll record information sought is relevant and material to an ongoing criminal investigation.

    C. Pen Register Information

       7. Finally, the Government seeks an order pursuant to 18 U.S.C. §§ 3121-26 authorizing

the use of a pen register on the Target Cellphone for a period of 45 days from the date of this order.

Specifically, the Government seeks an order directing the Service Provider to furnish any

information, facilities, and technical assistance necessary to operate, unobtrusively and with

minimum disruption of service, a pen register and trap and trace device to capture all dialing,

routing, addressing, or signaling information associated with each call transmitted to or from the

Target Cellphone, as specified further in the proposed Warrant and Order (the “Pen Register

Information”). 4




4
  The Government is also not seeking authorization to obtain post-cut-through dialed digits
(“PCTDD”), or digits that are dialed after a telephone call from the Target Cellphone has been
connected. Pursuant to the attached Order, if possible, the Service Provider will forward only pre-
cut-through-dialed digits to the Investigating Agency. However, if the Service Provider’s
technical capabilities require it to forward all dialed digits, including PCTDD, to the Investigating
Agency, the Investigating Agency will only decode and forward to the agents assigned to the
investigation the numbers that are dialed before the call is cut through.

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       8. I hereby certify pursuant to 18 U.S.C. § 3122 that the Pen Register Information is

relevant to an ongoing investigation being conducted by the Investigating Agency into suspected

violations of the Subject Offenses by the Target Subject(s).

   D. Sealing and Non-Disclosure Order to Service Provider

       9. When the Government obtains records or information under § 2703(c), it is not required

to notify the subscriber or customer. 18 U.S.C. § 2703(c)(3). Additionally, the Government may

obtain an order precluding the Service Provider from notifying the subscriber or any other third-

party of the warrant or order obtained, for such period as the Court deems appropriate, where there

is reason to believe that such notification will result in endangering the life or physical safety of

an individual, flight from prosecution, destruction of or tampering with evidence, or intimidation

of potential witnesses, or will otherwise seriously jeopardize the investigation.         18 U.S.C.

§ 2705(b).

       10. Further, 18 U.S.C. § 3123(d) provides that an order directing installation of a pen

register or trap and trace device shall direct the pertinent service provider “not to disclose the

existence of the pen register or trap and trace device or the existence of the investigation to the

listed subscriber, or to any other person unless or until otherwise ordered by the Court.”

       11. Accordingly, as explained further in the Agent Affidavit, in light of the confidential

nature of the continuing criminal investigation and the adverse consequences expected in the event

of premature notification, the Government respectfully requests that the Court direct the Service

Provider not to notify the Subscriber or any other person of the Warrant and Order sought herein

for a period of one year, subject to extension upon application to the Court, if necessary.

       12. For similar reasons, I respectfully request that the proposed Warrant and Order, this

Application, and the accompanying Agent Affidavit, be maintained under seal until the Court

orders otherwise, except that the Government be permitted without further order of this Court to

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                                                                          SUBJECT TO PROTECTIVE ORDER
serve this Warrant and Order on the Service Provider; provide copies of the Warrant and Order or

the supporting Application and Agent Affidavit as need be to personnel assisting the Government

in the investigation and prosecution of this matter; and disclose these materials as necessary to

comply with discovery and disclosure obligations in any prosecutions related to this matter.

III. Prior Requests

       13. On November 20, 2024, the Honorable Stewart D. Aaron, United States Magistrate

Judge for the Southern District of New York, issued an order authorizing the use of a Pen

Register/Trap and Trace on the Target Cellphone. Otherwise, except as may be set forth above,

no prior request for the relief requested herein has been made.

Dated: New York, New York

       December 2, 2024

                                                         ______________ _____________
                                                         Derek Wikstrom
                                                         Assistant United States Attorney
                                                         Tel.: 212-637-1085




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         5. Precision Location Capability.           Cellphone service providers have technical

capabilities that allow them to collect at least two kinds of information about the locations of the

cellphones to which they provide service: (a) precision location information, also known as E-911

Phase II data, GPS data, or latitude-longitude data, and (b) cell site data, also known as

“tower/face” or “tower/sector” information. Precision location information provides relatively

precise location information about a cellphone, which a provider can typically collect either via

GPS tracking technology built into the phone or by triangulating the device’s signal as received

by the provider’s nearby cell towers. Cell site data, by contrast, reflects only the cell tower and

sector thereof utilized in routing any communication to and from the cellphone, as well as the

approximate range of the cellphone from the tower during the communication (sometimes referred

to as “per-call measurement” (“PCM”) or “round-trip time” (“RTT”) data). Because cell towers

are often a half-mile or more apart, even in urban areas, and can be ten or more miles apart in rural

areas, cell site data is typically less precise than precision location information. Based on my

training and experience, I know that the Service Provider has the technical ability to collect

precision location information from any cellphone on its network, including by initiating a signal

on the Service Provider’s network to determine the phone’s location. I further know that cell site

data is routinely collected by the Service Provider in the course of routing calls placed to or from

any cellphone on its network. 1

II. Facts Establishing Probable Cause

         6. Although I understand that probable cause is not necessary to obtain all of the

Requested Information, I respectfully submit that there is probable cause to believe that the



1
 Toll records are sometimes necessary or helpful in order to obtain or interpret historical cell site
data and are therefore also requested herein.

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         25. Accordingly, there is reason to believe that, were the Service Provider to notify the

subscriber or others of the existence of the warrant, the investigation would be seriously

jeopardized. Pursuant to 18 U.S.C. § 2705(b), I therefore respectfully request that the Service

Provider be directed not to notify the subscriber or others of the existence of the Warrant and Order

for a period of one year, and that the Warrant and Order and all supporting papers be maintained

under seal until the Court orders otherwise, as specified in the Application submitted in

conjunction with this Affidavit.

                                                           /s/
                                                          ___               with permission
                                                                           ___________________

                                                          Special Agent
                                                          Federal Bureau of Investigation


Sworn to me through the transmission of this
Affidavit by reliable electronic means, pursuant to
Federal Rules of Criminal Procedure 41(d)(3) and 4.1, on

          3 2024
December ____,

_______________________________
HONORABLE HENRY J. RICARDO
United States Magistrate Judge
Southern District of New York




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2019.07.24




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                                                                          SUBJECT TO PROTECTIVE ORDER
Exhibit A




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SUBJECT TO PROTECTIVE ORDER
   Exhibit B
[24 MAG 3629]




                         SDNY_11_0000000609

                SUBJECT TO PROTECTIVE ORDER
(b) the approximate range of the target phone from the cell towers during the communication

(including per-call measurement (“PCM”) or round-trip time (“RTT”) data);

         8. Historical Location Information and Toll Records. The Service Provider shall

provide to the Investigating Agency all available historical cell site location information reflecting

the cell towers and sectors thereof utilized in routing any phone, text, or data communication to or

from the Target Cellphone, and the approximate range of the target phone from the cell towers

during the communication (PCM/RTT data), for the period from November 4, 2024 through the

date of this Order, as well as all available toll records (including call detail, SMS detail, or data

session detail records) for the communications.

         9. Pen register with caller identification and/or trap and trace device. The Service

Provider shall provide to the Investigating Agency, for a period of 45 days from the date of this

order, all dialing, routing, addressing, or signaling information associated with each voice, text, or

data communication transmitted to or from the Target Cellphone, including but not limited to:

               a. any unique identifiers associated with the phone, including ESN, MEIN,

MSISDN, IMSI, IMEI, SIM, MIN, or MAC address;

               b. source and destination telephone numbers and/or Internet protocol (“IP”)

addresses; 1

               c. date, time, and duration of the communication; and




1
  The Service Provider is not required to provide post-cut-through dialed digits (“PCTDD”), or
digits that are dialed after a telephone call from the Target Cellphone has been connected. If
possible, the Service Provider will forward only pre-cut-through-dialed digits to the Investigating
Agency. However, if the Service Provider’s technical capabilities require it to forward all dialed
digits, including PCTDD, to the Investigating Agency, the Investigating Agency will only decode
and forward to the agents assigned to the investigation, the numbers that are dialed before the call
is cut through.
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                                                                           SUBJECT TO PROTECTIVE ORDER
                d. cell-site information as specified above.

         10. Technical Assistance. The Service Provider shall furnish the Investigating Agency all

information, facilities, and technical assistance necessary to accomplish the disclosure of all of the

foregoing information relating to the Target Cellphone unobtrusively and with the minimum

interference to the service presently provided to the Subscriber.

         11. Non-Disclosure to Subscriber. The Service Provider, including its affiliates, officers,

employees, and agents, shall not disclose the existence of this Warrant and Order, or the underlying

investigation, to the Subscriber or any other person, for a period of one year from the date of this

Warrant and Order, subject to extension upon application to the Court, if necessary.




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                                                                           SUBJECT TO PROTECTIVE ORDER
III. Additional Provisions

         12. Compensation for Costs. The Investigating Agency shall compensate the Service

Provider for reasonable expenses incurred in complying with the Warrant and this Order.

         13. Sealing. This Warrant and Order, and the supporting Application and Agent Affidavit,

shall be sealed until otherwise ordered by the Court, except that the Government may without

further order of this Court: serve this Warrant and Order on the Service Provider; provide copies

of the Warrant and Order or the supporting Application and Agent Affidavit as need be to

personnel assisting the Government in the investigation and prosecution of this matter; and

disclose these materials as necessary to comply with discovery and disclosure obligations in any

prosecutions related to this matter.

Dated: New York, New York
          December 3, 2024              4:11 p.m.
         ____________________          _________________
         Date Issued                   Time Issued


                                                 ______________________________________
                                                 UNITED STATES MAGISTRATE JUDGE
                                                 Southern District of New York




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2019.07.24




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